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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

DEVON TINIUS )

Plaintiff
Vv.
} Case No. 1:21-cv-907 (ABJ)
OFFICER LUKE CHOL, et al.,

Defendants
)

PLAINTIFE’S REPLY TO DEFENDANT’S REPLY TO PLAINTIFE’S
OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

 

On May 10, 2021, Defendants Luke Choi and the District of Columbia moved to
dismiss this case. As grounds therefor, Defendants stated that: 1) the curfew law which
was in effect at the time that plaintiff was arrested is not unconstitutional; 2) Plaintiff’s
common law claim for false arrest fails because the arrest was justified because Officer
Choi had probable cause to arrest plaintiff and\or reasonably believed that his conduct
was lawful; 3) Officer Choi is entitled to qualified immunity with respect to plaintiff's
claims for arrest without probable cause and for violation plaintiff's rights freedom
speech and assembly; 4) Plaintiff has failed to state sufficient facts to state a claim for
assault and battery and excessive force; and 5) Plaintiff has failed to state sufficient facts
to state a claim for violation of her right to equal protection of the law.

On May 31, 2021, plaintiff filed an opposition to defendant’s motion to dismiss
demonstrating that: 1) the curfew law which was in effect at the time that plaintiff was
arrested was unconstitutional because it was and is vague and overly broad; 2) Officer
Choi had no legal justification for his arrest of the plaintiff because he did not have

probable cause to arrest plaintiff nor did he have a good faith or reasonable belief that
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plaintiff had committed a crime; 3) Officer Choi is not entitled to qualified immunity for
violation of plaintiffs First Amendment rights to Freedom of Speech and Assembly; 4)
Plaintiff has stated sufficient facts to support a claim for assault and battery and excessive
force; and 5) Plaintiff has stated sufficient facts to state a claim for violation of her right
to Equal Protection of the law.
On June 7, 2021, Defendants filed a Reply to Plaintiff’ s Opposition claiming that:
1) the District’s curfew law was lawful; 2) this Court should apply a rational basis
analysis rather than a strict scrutiny analysis in deciding whether the curfew law is
constitutional; 3) the curfew law is not unconstitutional because it is not void for
vagueness; 4) the curfew law is not unconstitutional because it is not overbroad; 5)
Officer Choi can not be held liable for false arrest because he allegedly had a reasonable
good faith belief that plaintiff had violated the curfew law; 6) Officer Choi is entitled to
qualified immunity on Plaintiffs arrest without probable cause claims under 42 U.S.C.
Section 1983; 7) Officer Perez is entitled to qualified immunity on Plaintiff’s excessive
force claim under 42 U.S.C. Section 1983: and 8) Plaintiff has not stated sufficient facts
to state a claim for violation her right to equal protection of the law.
As demonstrated below, there is no merit to any of defendants’ contentions.
Defendants’ motion to dismiss plaintiffs complaint should, therefore, be denied,
FACTS

1. The Curfew Law Should be Judged According to a Strict Scrutiny Analysis.

In support of their argument that a rational basis analysis should apply to the curfew
law, Defendants cite four cases, Lorillard Tobacco v. Reilly, 535 U.S. 525, 604 (2001);

United States v. Chalk, 441 F.2d 1277, 1281 (4% Cir. 1071); Box v. Planned Parenthood
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of Indiana & Kentucky, Inc., 139 S.Ct. 1780, 1782 (2019); and Ward v. Rock Against
Racism, 491 U. S. 781, 791 (1989). These cases, however, do not prove the point that

 

Defendants are trying to make, because there is no real discussion in any of these cases as
to the level of analysis that should be applied in judging the constitutionality of a curfew
law. Defendants have, moreover, conveniently chosen to ignore the cases cited by
plaintiff which actually do discuss the level of analysis to be applied and these cases
clearly demonstrate that curfew laws are subject to a strict scrutiny analysis. See, In re

Mosier, 59 Ohio Misc. 83, 89, 394 N.E.2d 368, 372 (Common Pleas Ohio 1978) and

 

Brown v. Ashton, 611 A.2d 599, 606 (Md. Ct. Spec. App. 1992).

The reason why there is a distinction between the cases cited by Defendants and
those cited by plaintiff is that the cases cited by Defendants deal only with regulatory
matters and time, place, and manner restrictions while the curfew law at issue in this case
has the effect of blocking all speech entirely. Simply stated, if a person cannot be in
public, it is axiomatic that there will be no opportunity to speak in public. As such, the

curfew law at issue here is subject to a strict scrutiny analysis. See, In re Mosier, 59 Ohio

 

Misc. 83, 89, 394 N.E.2d 368, 372 (Common Pleas Ohio 1978) and Brown v. Ashton,
611 A.2d 599, 606 (Md. Ct. Spec. App. 1992).

Defendants next ask, what difference would the level of analysis make? The
answer to the question is that it would make a very significant difference because statutes
which are subject to strict scrutiny can only be justified by a compelling state interest and
if Defendants fail to demonstrate that the statute can meet that test, then the law is

unconstitutional and it must be struck down. In re Mosier. 59 Ohio Misc. 83, 89, 394

 
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N.E.2d 368, 372 (Common Pleas Ohio 1978) and Brown v. Ashton, 611 A.2d 599, 606
(Md. Ct. Spec. App. 1992).

Plaintiff further notes that, even if this Court were to apply a rational basis test,
the District’s curfew law would still fail to pass muster since there is obviously no
rational relationship between what the District was trying to achieve; i.e., preventing
looting, rioting, burning, and vandalism and the activities that the statute actually
prohibited such as walking, biking, running, loitering, standing or driving.

Finally, there is no merit to Defendants’ argument that the curfew law actually
was narrowly limited to achieve a legitimate governmental purpose. Defendants argue
that the statute is appropriately limited because: 1) it does not regulate content; 2) public
safety and a pandemic are legitimate governmental interests, and 3) the curfew iaw did
not prohibit other means of communication.

In response, plaintiff notes, first, that the curfew law does regulate content
because it effectively blocks all communication. Once again, if an individua is not
permitted to be in public in order to speak, it is not possible to communicate any content.

Second, although public safety is, of course, a legitimate concern, there is no
rational relationship between what the statute was trying to achieve, i.e., preventing
looting, rioting, burning, and vandalism and what it effectively banned, i.e., political
protest. Clearly, the statute could have been more narrowly drawn since it could have
contained an exception which would have prohibited the police from arresting people
who were engaged in First Amendment activities such as political protest. Had the statute
had such exception the public goal, i.e., the prevention of looting, rioting, burning, and

vandalism, could have been achieved without any impact on peopie who were merely
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exercising their First Amendment rights, The plaintiff did not present a threat to public
safety and any statute which would subject her to arrest merely for speaking in public can
not be said to be rationally related to its stated goal.

Third, Defendants newly stated, after the fact, purpose of protecting people from
covid (something which was never even mentioned in the original reasons for the curfew)
also fails to pass muster. Once again, there is no rational relationship between this stated
purpose and the curfew law. Simply banning people from being in public for a night or
two would not have any appreciable effect on a virus that has, at last count, infected 33
million people. It is laughable, to say the least, that Defendants are now trying to claim
that a two day curfew would somehow have solved the covid pandemic. It should further
be noted that the mass arrests triggered by the curfew could only serve to spread the virus
rather than to contain it.

Finally, it does not matter that plaintiff allegedly had other means of
communication open to her, Plaintiff is not a wealthy person and there is no reason for
anyone to presume that she would have had the money or the influence which would
have been necessary to gain access to the media to spread her message, It is enough that
the statute blocked the one method to which she did have access and, as demonstrated
below, the courts who have struck down similar curfew laws have never required an
individual to demonstrate all methods of communication have been blocked. The issue
has never been whether aii methods of communication have been blocked, but rather
upon whether the means which actually have been chosen have been blocked,

a) The District of Columbia’s Curfew Law is and was Unconstitutional Because it is
Vague.

Defendants next argument is that the curfew law was not void for vagueness
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because parts of it were clear, ie., everyone knows what “standing” means. The fact that
one part of the law may have been clear, however, does not mean that the law, asa
whole, was not vague and, as such, the statute as a whole is vague and unconstitutional,
Plaintiff further notes that none of the Courts who have actually examined similar laws
have allowed the governments involved to escape a finding that a curfew law is
unconstitutional by claiming that some part of the law may be clear.

Defendants next argument is that the curfew law is not void for vagueness
because it is possible to somehow draw a distinction between “criminal” loitering and
“Innocent” loitering. In making this argument, Defendants have, of course, only served to
re-emphasize the argument that plaintiff is making since it is absurd to think that anyone
could actually make such a distinction (at what specific moment does standing in the
street somehow become a crime?) and it would obviously leave completely unfettered
discretion to the police who will undoubtedly decide that someone is involved in
“criminal” loitering rather than “innocent” loitering whenever it suits their purposes,

Finally, Defendants’ arguments also pointedly ignore the fact that every court that
has considered the issue have found that curfew laws which ban loitering are
unconstitutional. See .e.g. Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1972);
Nunez v. San Diego, 114 F.3d 935 (9"" Cir. 1997) (Curfew ordinance which made it
unlawful for minors to loiter, idle, wander, stroll, or play” held to be unconstitutional)’ In
re Mosier, op cit. at 97 and 376 (Curfew ordinance which made it unlawful for minors to
loiter, idle, wander or play held to be unconstitutional); KLJ v State, 581 So.2d 920, 922
(Fla. Dist Ct. 1991) (Curfew ordinance which made it unlawful to loiter, idle, stroll or

play held to be unconstitutional); In Re Doe, 54 Haw. 647, 650, 513 P.2d 1385, 1388
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(Hawaii 1973) (Curfew ordinance which made it illegal to loiter in public places held to
be unconstitutional); Seattle v. Pullman, 82 Wash. 2d 794, 795, 514 P.2d 1059, 1061
(Wash. 1973) (Curfew ordinance which made it illegal to loiter, idle, wander or play held
to be unconstitutional);.Commonwealth v Carpenter; 325 Mass 519, 521, 91 N.E.2d
666,667 (Mass. 1950 (“Prima facie, mere sauntering or loitering on a public ways is
lawful and the right of any man.” ); Cleveland v. Baker 83 Ohio L. Abs 502, 167 N.E.2d
119 (1960) (Statute making it unlawful to congregate on sidewalks held to be
unconstitutional), People v. Diaz 4 N.Y. 2d 469, (470, 176 N.Y.S.2d 313, 315, 151
N.E.2d 871, 872 (1958) (loitering statute void for vagueness); St. Louis v. Gloner 210
Mo.502, 109 S.W. 30 (1908) (Statute prohibiting lounging, standing or loafing on street
corners held to be unconstitutional).; Nunez vy. San Diego, 114 F.3d 935 (9" Cir. 1997)
(Statute which provides no standards by which to distinguish between prohibited and
unpermitted conduct held to be unconstitutional because it gives too much unfettered
discretion to police officers).

b) The District of Columbia’s Curfew Law is and was Unconstitutional Because it is
Overly Broad.

Defendants claim that plaintiffs argument about overbreadth is itself overbroad
because plaintiff’s argument would essentially mean that the government could never
impose a curfew law. In response, plaintiff notes that she is not making such a claim.
Instead, what plaintiff is saying is that the curfew law at issue in this case is overbroad
specifically because there is no rational relationship between what it seeks to achieve and
what it bans,

Defendants next argument is that the curfew law is not overbroad because it was

temporary and limited to a twenty-two hour period. In making this argument, Defendants
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have chosen to attack an argument that plaintiff has not made and to ignore the argument
that plaintiff actually has made which is that the curfew law was is unconstitutional
because it did not contain an exception for First Amendment activities.

Defendants have also chosen to ignore the cases cited by plaintiff, all of which hold
that a curfew law which does not contain an exception for First Amendment activities is
overbroad and unconstitutional. See, e.g., KLI v State, 581 So.2d 920, 922 (Fla. Dist Ct.
1991); Seattle v. Pullman, 82 Wash. 2d 794, 795, 514 P.2d 1059, 1061 (Wash. 1973)
(Statute which makes no distinction between conduct which is intended to harm and that
which is essentially innocent held to be unconstitutionally overbroad); Nunez v City of
San Diego, 114 F.3d 935, 951 (9" Cir. 1997) (Curfew ordinance which did not contain an
exception for legitimate First Amendment activities held to be unconstitutionally
overbroad).

2, Officer Choi Had No Legal Justification For His Arrest of the Plaintiff,

Defendants argue that Officer Choi cannot be held liable for false arrest because he
had a reasonable good faith belief that plaintiff had violated the curfew law. In making
this argument, Defendants have simply repeated the argument, they made in their original
motion while at the same time ignoring plaintiff’s argument that Officer Choi can be held
liable no matter what he reasonably believed because he had no legal authority to make
an arrest.

As noted in plaintiff's opposition, Officer Choi’s arrest of the plaintiff was illegal
and, by definition, a false arrest because Officer Choi had no legal authority to make the
arrest because the curfew law upon which he was relying is and was unconstitutional. An

unconstitutional law is void ab initio and, as such, it affords no protection to an officer
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acting pursuant to it..See, Norton v. Shelby, 118 U.S. 425, 442 (1885) (“An
unconstitutional statute it is not a law; it confers no rights; it imposes no duties; it affords
no protection; it is in legal contemplation, as inoperative as though it had never been
passed.”); Ex Parte Bockhorn 62 Tex. Cr. 651, 653, 138 SW 706, 707 (Ct. Crim App.
Tex.1911) (An unconstitutional statute is of no more validity than a blank piece of
paper.”); Boales vy. Ferguson, 55 Neb. 565, 76 N.W. 18, 19 (Neb. 1898) (‘When a statute
is adjudged to be unconstitutional, it is as if it had never been ... it constitutes a
protection to no one who has acted under it ...”) Sumner v, Beeler, 50 Ind. 341, 342 (Ind.
1875) (All persons are presumed to know the law, and if they act under an
unconstitutional enactment of the legislature, they do so at their peril.”); Kelly v. Bemis,
4 Gray 83 (Mass. 1855) (The officer could “derive no power or jurisdiction from a void
statute. He, therefore, acted without any jurisdiction; and upon familiar and well settled
principles, he is liable in this action’)

Defendants’ argument also ignores plaintiffs contention that Officer Choi could
not have had a good faith reasonable belief that plaintiff had violated the curfew law
because plaintiff was not in violation of the statute when she was arrested. As noted
above, plaintiff was trying to leave in compliance with the orders of the police officers at
the time she was arrested. Unfortunately, she was prevented from doing so by Officer
Choi and the other police officers who blocked her from leaving the scene. In such a case
where a police officer, himself, has prevented an individual from complying with the law,
plaintiff can not be said to have committed a crime and Officer Choi could not have had a
good faith belief that plaintiff had committed a crime. Plaintiff further notes that there is

no merit to defendants’ contention that plaintiff did not properly allege that she was
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trying to leave the scene at the time she was arrested because plaintiff clearly makes such

an allegation in paragraph nine of her complaint.

3) Officer Choi is not entitled to qualified immunity for violation of plaintiff's
First Amendment rights.

Defendants contend that Officer Choi is entitled to qualified immunity with
respect to plaintiff's constitutional claims under 42 U.S.C. Section 1983 because plaintiff
cannot show that the Officer Choi’ conduct violated a clearly established constitutional
right at the time plaintiff was arrested. Defendants’ argument fails, however, because it
only deals with the constitutionality of the curfew law. It does not deal with the argument
that plaintiff is making which is that Officer Choi is not entitled to qualified immunity
because he would have clearly been on notice, at the time of the arrest, that his actions in
arresting plaintiff were illegal. Sec, Turpin v. Ray, 319 F. Supp. 3d 191, 200 (D.D.C.
2018).

As noted in plaintiff’s opposition, plaintiff had not committed a crime at the time
of her arrest because she was actively trying to comply with the statue by trying to leave
the scene at the time she was arrested. Officer Choi, however, entrapped her (literally) in
order to make it seem as if she had committed a crime. Since it was widely known and
firmly established that entrapment was illegal at the time that plaintiff was arrested,
Officer Choi could not have had a good faith belief that his conduct was lawful and he is
not, therefore, entitled to qualified immunity. See, Sherman v. United States, 356 U.S.
369, 372 (1958) (“In Sorrells v. United States, 287 U.S. 435, 53 S.Ct. 210, 77 L.Ed, 413
this Court firmly recognized the defense of entrapment in the federal courts.”

4) Plaintiff has stated sufficient facts to support a claim for assault and battery and
excessive force.

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In their reply, Defendants repeat their claim that the force used by Officer Choi
was reasonable because it only involved the application of handcuffs. In doing so,
Defendants pointedly decline to address the fact that plaintiff was handcuffed behind her
back overnight for a period of 8 hours, a set of facts which, in and of itself, clearly
establishes that the amount of force used was excessive.

In response, to plaintiff's claim that any application of force was excessive
because Officer Choi had no right to even touch plaintiff because plaintiff's arrest was
illegal, Defendants assert in response that the arrest was legal which, of course,
completely ignore the fact that the arrest was illegal, ab initio, due to the
unconstitutionality of the curfew law. Simply stated, if the Court finds that the curfew
Jaw was unconstitutional, then Officer Choi had no right to touch plaintiff at all and any
application of force would be excessive. And since the curfew law is clearly
unconstitutional, plaintiff prevails on this claim,

Defendants also ignore all of the Graham v. O’Coonor factors which clearly favor
plaintiff.

5) Plaintiff has stated sufficient facts to state a claim for violation of her right to
Egual Protection of the law.

Defendants once again try to distinguish the way that the plaintiff was treated
from the way that the Capitol Hill insurrectionists were treated by claiming: 1) the
insurrectionist incident occurred at noon; 2) the insurrectionist incident happened at a
different location, and 3) the Capitol Police were also involved in the insurrectionist’s
arrests. These claims, of course, amount to a distinction without a difference since 1) the
same government was in power and 2) the facts are similar enough, i.e., protesters subject

to a curfew, that a comparison can be made.

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6. Conclusion
For all of these reasons, plaintiff requests that Defendants’ motion to dismiss be

denied.

Respectfully Submitted

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Certificate of Service
I hereby certify that a copy of this Reply was electronically served per the Court’s
electronic filing system this 13th day of June, 2021, on:
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